UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK
_________________________________________
                                                     Chapter 11 - Sub-chapter V
In re
                                                     Tax I.D. No. XX-XXXXXXX
        Beary Good, Inc.,
                                                     Case No.: 1-24-10579-CLB
                  Debtor.
________________________________________             Assigned Judge: Carl L. Bucki

                                  AFFIRMATION OF SERVICE

         The undersigned, Michael A. Weishaar hereby affirm under penalty of perjury, that deponent
is not a party to this action and is over eighteen years of age; that on the 30th    day of May,
2024 deponent served copies of the ex-parte Application for an Order (Bankruptcy Rule 9006 and
9007) Shortening and Limiting Notice and Scheduling an Expedited Hearing for Debtor’s Request
for Interim Authority to Use Cash Collateral, dated May 30, 2024, upon the persons listed below /
by:

to:     Hon. Carl L. Bucki                                 via email
        United States Bankruptcy Court
        Western District of New York
        Robert H. Jackson U.S. Courthouse
        2 Niagara Square
        Buffalo, NY 14202

        Office of The United States Trustee                via email
        300 Pearl Street, Suite 401
        Buffalo, New York 14202

        Michael Brummer                                    via email
        168 Farber Lane
        Williamsville, NY 14221

        Key Bank                                           via email BK_Specialists@KeyBank.com
        4910 Tiedeman Road
        Cleveland OH 44144-0000

        Small Business Administration                      via email c/o the US Attorney
        PO Box 3918
        Portland OR 97208-0000
       NYS Dept. of Taxation & Finance                      via email c/o Christopher Moen, Esq.
       Bankruptcy Unit
       P.O. Box 5300
       Albany, NY 12205-0300

              and, I caused to be served a courtesy copy of the Motion, to the following:

       Alden State Bank                                     via email c/o Peter Muth, Esq.
       13216 Broadway
       Alden NY 14004-0000

DATED:     May 30, 2024

 /s/ Michael A. Weishaar
Michael A. Weishaar, Esq.
